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F|I.ED BY _%D.C.
iN THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN DiSTR|CT OF TENNESSEEO h 2 5
WESTERN D|V|SiON 5 AUG zh H 6 9

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CLEHK. U,Si _l?i§i?i§i COUFii`
UN|TED STATES OF AN|ER|CA, * fiiD O§~’ §,»'-;‘_, i.'i';;`i’_Pi-HS
P|aintiff, *
vs. * Crimina| No. 02-20326-D
STEVEN JOSEPH YUR|CK, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

in indictment Number 02-20326-D, the United States sought forfeiture of specific
property ofdefendant Steven Joseph ¥urick, pursuant to 18 U.S.C. §§ 2251 and 2252. On
August 4, 2003, a jury verdict of guilty was entered as to Counts 1 - 8 and the forfeiture in
Count 9 of the indictment.
Accordingiy, it is ORDERED:

1. Based upon the jury’s guilty verdict as to Counts 1 - 8 and the forfeiture in
Cou nt 9 of the indictment Number 02-20326-0, the United States is authorized to seize the
fo|iowing property belonging to defendant Steven Joseph Yurick, and his interest in it is
hereby forfeited to the United States for disposition in accordance with the |aw, subject to
the provisions of 21 U.S.C. §853(n) and Ru|e 32(d)(2) of the Federai Ruies of Criminal
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United

States Code, and any book, magazine, periodica|, firm, videotape, and other matter which

contains any such visual depiction, which was produced, transported, mailed, shipped, or

This document entered on the docket sheet in nowhean

with eula 55 and/or 32(b) frech en §§ iii 8 /3 /

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received in violation of the above said statute;

b. Any property, real or persona|, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

following:

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12)

One (1) Compaq Presario 6000,
SN-2H25KMZ7NOJ9;

One (1) O|ympus Dlgita| Camere,
SN-1030090;

One (1) Computer |Vlonitor,
SN-CCJ084040476;

One (1) Computer Keyboard,
SN-BSBQBOAGANS?ZX;

One (1) Lexmar)< Printer 5700,
SN-1712338;

One (1) Computer Niouse;

One (1) Computer Card Reader,
SN-CU99097180;

One (1) |omega 100MB Zip Drive,
SN-PAAQ17C5B7;

One (1) |omega Zip Disk Tit|ed
“Pics/Poses Art/Erotic";

One (1) iomega Zip Disk Tit|ed
"Naomi&Amanda Naomi Site Pics";

One (1) 128MB Fiash |V|emory Cards;

One (1) BNIB Fiash Memory Card;

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13) Three(3)CD-RO|V|S;
14) Two (2) 1.44MB F|oppy Diskettes;

15) One (1) Tim Jahns Photography Post Card;

16) One (1) Pentax 35N|Nl Camera,
SN-3668729;

17) One (1) Polaroid Digltal Camera,
SN-81000773;

18) All Funds in Account Number
5024463 at Home Banking
Company 795 Poplar Avenue,
Se|mer, TN 38375.

A|l pursuant to Tltle 18, United States Code, Sectlon 2253.

2. The forfeited property is to be held by the United States l\/|arshal in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodianl

3. Pursuant to 21 U.S.C. §853(n)(1),l the United States lV|arshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity ofthe
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim

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and the relief sought. The United States l\/larshal or his delegate may use the attached
l_egal Notice.

The United States may also, to the extent practicab|e, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preiiminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preiiminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. |f no third party files a timely claim, this Order shall become the Final Order
of Forfeiturel as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

lT lS SO ORDERED this 2f1 day off 34 j,,._¢& , 2005.

B RN|CE B. DONALD
` d States District Judge

 
     

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PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

f//Wx/

lSTOPHER E. COTTEN
ssistant United States Attorney

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|N THE UN|TED STATES DiSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|VlS|ON

 

UN|TED STATES OF AMER|CA, *
P|aintiff, *
vs. * Crimina| No. 02-20326-D
STEVEN JOSEPH YURlCK, *
Defendant. *
LEGAL NOT|CE

 

Take notice that on W, the United States District Court for the

Western District of Tennessee, Western Division, entered a Preiiminary Order of Forfeiture
ordering that all right, title and interest of the defendant Steven Joseph Yurick in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Tit|e 18 United States
Code, and any book, magazine, periodical, firm, videotapel and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

promote the commission of the above said offenses, including but not limited to the

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following:

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17)

One (1) Compaq Presario 6000,
SN-2H25KMZ7NOJ9;

One (1) Olympus Digita| Camera,
SN-1030090;

One (1) Computer lVlonitor,
SN-CCJ084040476;

One (1) Computer Keyboard,
S‘N-E556980AGAN37ZX;

One (1) Lexmarx Printer 5700,
SN-1712338;

One (1) Computer i\/louse;

One (1) Computer Card Readerl
SN-CU99097180;

One (1) lomega 100MB Zip Drive,
SN-PAAQ17C5B7;

One (1) lomega Zip Disk Tit|ed
"Pics/Poses Art/Erotic";

One (1) lomega Zip Disk Tit|ed
"Naomi&Amanda Naomi Site Pics";

One (1) 128MB Flash Niemory Cards;

One (1) BMB F|ash Memory Card;

Three (3) CD-RO|V|S;

Two (2) 1.44MB F|oppy Diskettes;

One (1) Tim Jahns Photography Post Card;

One (1) Pentax 35|\/||\/| Camera,
SN-3668729;

One (1) Po|aroid Digita| Camera,

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SN-81000773;

18) A|| Funds in Account Number
5024463 at Home Banking
Company 795 Poplar Avenue,
Seln'ierl TN 38375.

A|l pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
General or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must tile a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 131 in
case 2:02-CR-20326 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

LeAnn B. Rial

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Christopher E. Cotten

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167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Dan Nevvsom

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Honorable Berniee Donald
US DISTRICT COURT

